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In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-11-00076-CV

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JAMES R.
HARRISON, Appellant

V.

CHAMBERS COUNTY, TEXAS, Appellee



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&nbsp;

On Appeal from the 344th District Court 

Chambers County, Texas



Trial Court Cause No. 25885

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MEMORANDUM OPINION

Appellant has filed an unopposed motion to dismiss
the appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P.
42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief
Justice Radack and Justices Jennings and Keyes.





